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     JULIO CESAR ELIZALDE-AISPURO
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 10-96-03 WBS
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   JULIO CESAR ELIZALDE-AISPURO,                       RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable WILLIAM B. SHUBB
16
17             Defendant, JULIO CESAR ELIZALDE-AISPURO by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA,
19   by and through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On July 8, 2011, this Court sentenced Mr. Elizalde-Aispuro to a term of 70

25   months imprisonment;

26             3.         His total offense level was 27, his criminal history category was I, and the

27   resulting guideline range was 70 to 87 months;

28

     Stipulation and Order Re: Sentence Reduction           1
       Case 2:10-cr-00096-WBS Document 53 Filed 03/12/15 Page 2 of 3


1              4.         The sentencing range applicable to Mr. Elizalde-Aispuro was subsequently
2    lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
3    July 18, 2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Elizalde-Aispuro’s total offense level has been reduced from 27 to 26, and his
5    amended guideline range is 63 to 78 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Elizalde-Aispuro’s term of imprisonment to a total term of 63 months.
8    Respectfully submitted,
9    Dated: March 10, 2015                              Dated: March 10, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JULIO CESAR ELIZALDE-AISPURO
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Elizalde-Aispuro is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 27 to 26, resulting in an amended
21   guideline range of 63 to 78 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in July 2011 is
23   reduced to a term of 63 months.
24             IT IS FURTHER ORDERED that all other terms and provisions of the amended
25   judgment remain in effect.
26             The clerk shall forthwith prepare an amended judgment reflecting the above reduction in
27   sentence, and shall serve certified copies of the amended judgment on the United States Bureau
28   of Prisons and the United States Probation Office.

     Stipulation and Order Re: Sentence Reduction          2
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1              Unless otherwise ordered, Mr. Elizalde-Aispuro shall report to the United States
2    Probation Office within seventy-two hours after his release.
3    Dated: March 12, 2015
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     Stipulation and Order Re: Sentence Reduction      3
